Case 1:20-cv-02658-CJN Document 34 Filed 10/07/20 Page 1 of 2
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

TikTok Inc., et al.

Plaintiff(s)
Case No.: 1:20-cv-02658-CJN

vs.

Donald J. Trump, et al.

Defendant(s)
AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Louis Gerrick, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested
in this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and
Reference of a Civil Action to a Magistrate Judge; Complaint for Injunctive and Declaratory Relief; Civil Cover Sheet; and
Certificate Rule LCvR 26.1

SERVE TO: William Barr, United States Attorney General

SERVICE ADDRESS: U.S. Department of Justice, 950 Pennsylvania Avenue,NW, Washington, DC 20530

METHOD OF SERVICE: Per COVID-19 service of process protocol, service was completed by mailing a copy of the documents
listed herein to William Barr, United States Attorney General, U.S. Department of Justice, 950 Pennsylvania Avenue,NW,

Washington, DC 20530 on 09/23/2020 via United States Postal Service, Certified Mail, Return Receipt Requested. Article
Number: 7018 3090 0000 6834 6029.

I declare under penalty of perjury that this information is true.

 

4/23/2020 TC
Executed On . Louis Gerrick

Client Ref Number:093187.00014
Job #: 1581780

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
:20-CVv-02 -CJN. Document 34 Filed 10/07/20 Page 2 of 2
CARE Je PI GAG sb Eg ON Document 6 Filed 09/21/20 Page 7 of 8

AO 440 (Rev. 06/12; DC 3/15) Summons ina Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
District of Columbia
TikTok Inc., et al., )
)
)
)
Plaintiff(s) )
v. Civil Action No. 20-cv-02658-RDM
Donald J. Trump, et al.
)
_ )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Willlera Baer

United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: John E. Hall

COVINGTON & BURLING LLP
One CityCenter, 850 Tenth Street, NW
Washington, DC 20001

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

/s/ Simone Bledsoe
Signature of Clerk or Deputy Clerk

Date: 09/21/2020

 

 
